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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

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UNITED STATES OF AMERICA : Case No: 1:21-cr-00341-CKK
v. : VIOLATIONS:
: 18 U.S.C. §§ 1512(c)(2), 2
JOHN DOUGLAS WRIGHT : (Obstruction of an Official Proceeding)
Defendant
STATEMENT OF OFFENSE

Pursuant to Federal Rule of Criminal Procedure 11, the United States of America, by and
through its attorney, the United States Attorney for the District of Columbia, and the defendant,
John Douglas Wright, with the concurrence of his attorney, agree and stipulate to the below
factual basis for the defendant’s guilty plea—that is, if this case were to proceed to trial, the

parties stipulate that the United States could prove the below facts beyond a reasonable doubt:
The Attack at the U.S. Capitol on January 6, 2021

1. The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is
secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include
permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only
authorized people with appropriate identification are allowed access inside the U.S. Capitol.

2. On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members

of the public.
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3. On January 6, 2021, a joint session of the United States Congress convened at the
United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint
session, elected members of the United States House of Representatives and the United States
Senate were meeting in separate chambers of the United States Capitol to certify the vote count
of the Electoral College of the 2020 Presidential Election, which had taken place on November
3, 2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by
approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a
particular objection. Vice President Mike Pence was present and presiding, first in the joint
session, and then in the Senate chamber.

4. As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
Capitol. As noted above, temporary and permanent barricades were in place around the exterior
of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the
crowd away from the Capitol building and the proceedings underway inside.

5. At approximately 2:00 p.m., certain individuals in the crowd forced their way
through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd
advanced to the exterior facade of the building. The crowd was not lawfully authorized to enter
or remain in the building and, prior to entering the building, no members of the crowd submitted
to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized
security officials.

6. At such time, the certification proceedings were still underway and the exterior
doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol;

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however, shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,
including by breaking windows and by assaulting members of law enforcement, as others in the
crowd encouraged and assisted those acts. The riot resulted in substantial damage to the U.S.
Capitol, requiring the expenditure of more than $1.4 million dollars for repairs.

7. Shortly thereafter, at approximately 2:20 p.m., members of the United States
House of Representatives and United States Senate, including the President of the Senate, Vice
President Pence, were instructed to—and did—evacuate the chambers. Accordingly, all
proceedings of the United States Congress, including the joint session, were effectively
suspended until shortly after 8:00 p.m. the same day. In light of the dangerous circumstances
caused by the unlawful entry to the U.S. Capitol, including the danger posed by individuals who
had entered the U.S. Capitol without any security screening or weapons check, Congressional
proceedings could not resume until after every unauthorized occupant had left the U.S. Capitol,
and the building had been confirmed secured. The proceedings resumed at approximately 8:00
p.m. after the building had been secured. Vice President Pence remained in the United States

Capitol from the time he was evacuated from the Senate Chamber until the session resumed.

John Douglas Wright’s Participation in the January 6, 2021, Capitol Riot

8. On or about January 6, 2021, defendant WRIGHT organized two charter buses
which he owned to travel to Washington D.C. He charged $50.00 per person for the trip. An
approximate total of 100 people traveled on Wright’s charter buses to D.C.

9. On January 6, 2021, defendant WRIGHT parked both buses at Union Station at
approximately 11:30 a.m. WRIGHT then walked with his group directly to the U.S. Capitol,

entering the grounds on the east side.

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10. Defendant WRIGHT, who was wearing a red hoodie with the words “Trump
Pence 2020,” approached the federal law enforcement barricade line on the east U.S. Capitol
grounds. The barricade line was delincated by waist-high metal fences.

11. Defendant WRIGHT understood and admits that at all times, federal law
enforcement officers present at the U.S. Capitol were engaged in performance of their official
duties.

12. Defendant WRIGHT admits that he, together with others, pushed against a metal
barricade against federal law enforcement officers in an attempt to break through that group of
officers and advance towards the U.S. Capitol.

13. Defendant WRIGHT then tock a break and sat on a folding chair to catch his
breath.

14, | Approximately 15 minutes later, the crowd had pushed through the eastem
barriers, and defendant WRIGHT entered the U.S. Capitol Building through open doors. Once
inside the building, defendant WRIGHT walked through the Capitol Rotunda, took video, posted
the video to Facebook Live, and then smoked a cigarette. Defendant WRIGHT then exited the
building.

15. The defendant knew at the time he entered the U.S. Capitol Building that he did
not have permission to enter the building. The defendant obstructed, influenced, and impeded an
official proceeding, that is, a proceeding before Congress, specifically, Congress’s certification
of the Electoral College vote as set out in the Twelfth Amendment of the Constitution of the

United States and 3 U.S.C. §§ 15-18.

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16. In addition to his physical conduct, defendant WRIGHT also repeatedly used
social media to convey his thoughts. For example, on or about January 5 through January 8,
Defendant WRIGHT posted the following messages on his Facebook account:
a. “WE ARE GOING TO HAVE TO FIGHT THE BLUE TOMORROW”

b. “FROM WHAT I SEEN TONIGHT THE TEMPERS WILL BE UP
TOMORROW AND POLICE LINES WILL BE BREACHED”

c. “WE HAVE ENOUGH TO PUSH THRU”

d. “THE FIRST MISTAKE THEY MAKE IN CHAMBERS WE ARE GOING
IN AND DRAG THEM OUT”

e. “IT'S FUCKING WAR TIME”

f. “NO MORE PROTESTING”

g. “SET ON NICE BENCH IN ROTUNDA AND HAD A SMOKE”
h. “YESTERDAY WAS A PRACTICE RUN”

i. “I THINK WE NEED TO MAKE HOME VISITS”

Limited Nature of Factual Basis

17.‘ This proffer of evidence is not intended to constitute a complete statement of all
facts known by Defendant WRIGHT or the government. Rather, it is a limited statement of facts

intended to provide the necessary factual predicate for Defendant WRIGHT’s guilty plea.

Respectfully submitted,
MATTHEW M. GRAVES

United States Attorney
D.C. Bar No. 415793

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By: = /s/ Will N_ Widman
WILL N. WIDMAN

Trial Attorney

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DEFENDANT’S ACKNOWLEDGMENT

I, JOHN DOUGLAS WRIGHT, have read this Statement of the Offense and have
discussed it with my attorney. I fully understand this Statement of the Offense. I agree and
acknowledge by my signature that this Statement of the Offense is true and accurate. I do this
voluntarily and of my own free will. No threats have been made to me nor am I under the influence
of anything that could impede my ability to understand this Statement of the Offense fully.

win Ld Lf

JOHN DOUGLAS WRIGHT
Defendant

ATTORNEY’S ACKNOWLEDGMENT

I have read this Statement of the Offense and have reviewed it with my client fully. I
concur in my client's desire to adopt this Statement of the Offense as true and accurate.

Date: Y A | tL

LG MUNYR

Attorney for Defendant

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